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                           CERTIFICATION OF SERVICE

      I hereby certify that on this date, true and correct copies of the Debtor’s

FIFTH AMENDED CHAPTER 13 PLAN has been served pursuant to L.B.R. 3015-3, by

first electronic service upon all secured and priority creditors and all creditors

requesting notice under Fed. R. Bank. P. 2002, as follows:

                    Dan Auerbach, Esq.
                    Attorney for SYI 2019
                    Gamburg & Benedetto, LLC
                    1500 John F. Kennedy Blvd.
                    Suite 1203
                    Philadelphia, PA 19102
                    215.567.1486 (phone)
                    215.940.6661 (fax)
                    www.gamburglaw.com

                         and

                    SYI 2019
                    2225 West Lehigh Avenue
                    Philadelphia, PA 19132



      I further certify that the above has been served upon the Debtor, the United

States Trustee, and the Standing Chapter 13 Trustee by electronic service.



                                      /s/ Dawn T. Williams
                                      DAWN T. WILLIAMS, ESQ.
                                      Attorney for Debtor
                                      Community Legal Services of Philadelphia
                                      1410 W. Erie Ave.
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